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                            UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA,
                                                  Case No.________________
               Plaintiff,
                                                  COMPLAINT
       v.

SARAH M. HALL,

               Defendant.



                                          COMPLAINT

       The United States of America files this Complaint seeking judgment and civil penalties

against Defendant Sarah M. Hall for violations of the Controlled Substances Act (CSA). See 21

U.S.C. §§ 801-904.

                                       I. JURISDICTION

       1.       This is an action brought by the United States for civil monetary penalties

authorized by the CSA for prohibited acts outlined in 21 U.S.C. § 842(a). See also 21 U.S.C. §

842(c) (authorizing civil penalties). The Court has jurisdiction over the subject matter of this

case pursuant to both 28 U.S.C. § 1355 and 28 U.S.C. § 1345.




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                                           II. PARTIES

        2.      Plaintiff, the United States, is a sovereign nation acting on behalf of the U.S. Drug

Enforcement Administration (DEA).

        3.      Defendant Sarah M. Hall is a nurse practitioner and resident of Boise, Idaho.

Defendant resides within the jurisdiction of this Court and practices as a nurse practitioner in the

District.

                                            III. VENUE

        4.      Venue is proper in the District of Idaho because (a) Defendant resides and/or

conducts business within the District, (b) a substantial portion of the events giving rise to the

action occurred in the District, and (c) the civil penalties sought by the United States accrued in

the District. See 28 U.S.C. § 1391(b); 28 U.S.C. § 1395(a). Pursuant to District of Idaho Local

Civil Rule 3.1, venue is proper in the District’s Southern Division.

                           IV. CONTROLLED SUBSTANCES ACT

        5.      Congress passed the Controlled Substances Act (CSA) in 1970 after determining

that the illegal distribution and improper use of controlled substances had “a substantial and

detrimental effect on the health and general welfare of the American people.” See 21 U.S.C. §

801.

        6.      The CSA governs the manufacture, distribution, and dispensation of controlled

substances in the United States. A “controlled substance” is any drug or other substance

included in schedule I, II, III, IV, or V of the CSA, and includes phentermine, diethylpropion,

phendimetrazine, and testosterone. See 21 U.S.C. § 802(6).

        7.      Because one of the goals of the CSA is to prevent the diversion of drugs from

legitimate to illegitimate channels, the CSA established a closed regulatory system in which it is




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unlawful to manufacture, distribute, dispense or possess any controlled substance except in a

manner authorized by the CSA.

       8.      In order to track the legitimate dispensation of controlled substances by health

care professionals, the CSA requires practitioners that wish to write prescriptions for controlled

substances to register with the DEA. See 21 U.S.C. § 822(a)(2); 21 U.S.C. § 802(10) (definition

of term “dispense”); 21 U.S.C. § 802(21) (definition of “practitioner); see also Idaho Code 37-

2716(a) (requiring prescribers in Idaho to obtain a similar registration from the State of Idaho).

Practitioners registered with the DEA to dispense controlled substances are authorized to

dispense only to “the extent authorized by their registration,” and must do so in conformity with

the other provisions of the CSA. See 21 U.S.C. § 822(b); see also Idaho Code 37-2716(c).

       9.      The CSA requires that a practitioner obtain a separate registration from the DEA

at each principal place of business or professional practice where the applicant manufactures,

distributes, or dispenses controlled substances. See 21 U.S.C. § 822(e); 21 C.F.R. § 1301.12; see

also Idaho Code 37-2716(f) (similar requirement under Idaho law). Thus, a practitioner that

maintains a medical practice in a state and wishes to write prescriptions for controlled substances

to patients in that state must be registered with the DEA for dispensing in that state. If a

practitioner administers controlled substances directly to patients as a regular part of her

professional practice, each location where the administration of controlled substances occurs

must be separately registered with the DEA.

       10.     Once the DEA grants an application for a registration, it issues the practitioner a

certificate of registration. See 21 C.F.R. § 1301.35. The certificate of registration includes the

name, address, and registration number of the registrant. After receiving the certificate, the

registrant must thereafter maintain the certificate “at the registered location” in a readily




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retrievable manner. 21 C.F.R. § 1301.35(c). An applicant may not prescribe or administer

controlled substances without a valid certificate of registration for the location where those

activities occur.

       11.     Under the CSA, a prescription for a controlled substance can only be issued by a

practitioner who is: (1) authorized to prescribe controlled substances by the jurisdiction in which

she is licensed; and (2) registered with the DEA in the state where the prescription is issued. See

21 U.S.C. § 822; 21 C.F.R. § 1306.03.

       12.     In order for a prescription for a controlled substance to be valid, it must be issued

for a legitimate medical purpose and in the usual course of professional practice. See 21 C.F.R.

§ 1306.04. In addition, a prescription for a controlled substance must comply with additional

regulatory requirements, including that such prescriptions be dated and signed on the date of

issuance, and bear the name, address, and registration number of the practitioner. See 21 C.F.R.

§ 1306.05.

       13.     A practitioner that regularly engages in the dispensing or administering of

controlled substances and thereafter charges patients for the substances so dispensed or

administered must create and maintain certain records and inventories of the controlled

substances dispensed or administered as part of their practice. See 21 U.S.C. § 827; 21 C.F.R. §

1304.03(a)-(d). Among other things, such practitioners must maintain complete and accurate

initial and biennial inventories of controlled substances dispensed or administered as part of their

practice. See 21 U.S.C. § 827(a); 21 C.F.R. § 1304.11.




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                                  V. FACTUAL BACKGROUND

          14.   Defendant Sarah M. Hall is a nurse practitioner currently residing in Boise, Idaho.

Defendant is licensed as a nurse with the state boards of nursing in Idaho, Florida, and other

states.

          15.   Before practicing nursing in Idaho, Defendant practiced nursing in other states,

including at least Florida and Arizona.

          16.   In and around 2018, Defendant practiced as a nurse practitioner at Joshua Tree

Pediatrics in Kingman, Arizona. The DEA issued Defendant a certificate of registration so that

Defendant could prescribe controlled substances as part of her nursing practice in that state. In

addition, Defendant acquired a registration to prescribe controlled substances from the State of

Arizona.

          17.   In 2019, Defendant moved to Florida and began to practice nursing at Sunshine

Pediatrics in Lutz, Florida. Defendant applied to change her DEA registered address to her new

principal place of business in Florida as part of her move to that state. The DEA granted the

application and issued Defendant a new certificate of registration allowing her to prescribe

controlled substances in Florida. In addition to changing her registered DEA address, Defendant

also acquired a license to prescribe controlled substances from the State of Florida.

          18.   On information and belief, Defendant moved to Idaho in the summer of 2019.

          19.   Beginning in summer of 2019, Defendant began practicing nursing in Idaho from

principal places of business in Idaho. Defendant’s nursing practice included issuing

prescriptions for controlled substances and administering controlled substances directly to

patients. Since approximately August 2019, Defendant conducted nursing activities from one or

all of the following locations:




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               a.   Vitality Wellness Center
                    2483 East Fairvew Ave.
                    Meridian, ID 83642

               b.   All Seasons Mental Health
                    6933 W. Emerald St.
                    Boise, ID 83704

               c.   2495 E. Red Cedar Ln.,
                    Apt. # W202
                    Boise, ID 83716

       20.     Between August 15, 2019 and October 24, 2019, Defendant wrote prescriptions

for controlled substances to patients she saw and treated in Idaho as part of her nursing practice

in Idaho. However, at no time during the period from August 15, 2019 to October 24, 2019, did

Defendant have either of the following:

               a.        a certificate of registration from the DEA authorizing Defendant to

       prescribe controlled substances while practicing as a nurse in Idaho, or

               b.        a registration to prescribe controlled substances in Idaho from the Idaho

       State Board of Pharmacy.

       21.     In addition, and during the same period of time, Defendant wrote multiple

misleading and invalid prescriptions using a prescription pad created for a different practitioner.

The invalid and illegitimate prescriptions failed to include Defendant’s complete name and/or

other required information, and, in their final form, appeared to have been authorized by a

separate practitioner.

       22.     Between at least September 1, 2019 and December 6, 2019, Defendant acquired

and administered controlled substances, including testosterone cypionate, to patients as part of

her practice at Vitality Wellness Center. However, at no time during the period from September

1, 2019 to December 6, 2019, did Defendant have a certificate of registration from the DEA that




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authorized her to acquire and/or administer controlled substances as part of her practice at

Vitality Wellness Center in Idaho. In addition, upon acquiring controlled substances, Defendant

failed to timely create and maintain complete and accurate inventories of controlled substances

as required by the CSA for practitioners administering controlled substances.

                                      VI. CLAIMS FOR RELIEF

                                         CLAIM #1
                              Violation of 21 U.S.C. § 842(a)(1)
              Dispensing controlled substances by means of invalid prescriptions

        23.      Plaintiff incorporates by reference the allegations set forth above in paragraphs 1-

22, as if set forth in full at this place.

        24.      Between August 15, 2019, and October 24, 2019, Defendant did the following:

                 a.      practiced nursing in Idaho and saw patients in Idaho,

                 b.      wrote 86 prescriptions for controlled substances to Idaho patients,

        including prescriptions for phentermine, phendimetrazine, diethylproprion and

        testosterone, and

                 c.      listed an address for Vitality Wellness Center in Meridian, ID on

        prescriptions written to her Idaho nursing patients, even though Defendant was not

        registered by the DEA in Idaho to dispense controlled substances at that address or any

        other address in the State of Idaho.

        25.      Phentermine and diethylpropion are Schedule IV controlled substances under the

CSA, while phendimetrazine and testosterone are Schedule III controlled substances under the

CSA.

        26.      At all times between August 15, 2019 and October 24, 2019, Defendant was only

registered by the DEA to prescribe controlled substances as part of her practice in Florida.




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        27.      At all times between August 15, 2019 and October 24, 2019, Defendant lacked a

registration from the Idaho State Board of Pharmacy that would allow her to prescribe controlled

substances in Idaho.

        28.      Because Defendant lacked a registration or license to prescribe controlled

substances in Idaho from both the DEA and the Idaho State Board of Pharmacy, Defendant was

not entitled to issue prescriptions to Idaho patients as part of her Idaho nursing practice between

August 2019 and October 24, 2019. See 21 C.F.R. § 1306.03. As a result, the 86 prescriptions

issued by Defendant during that period were invalid and issued outside the course of usual

professional practice. See 21 C.F.R. § 1306.04.

        29.      A DEA registration in one state does not authorize a practitioner to prescribe

controlled substances in another state.

        30.      Defendant is subject to the registration requirements outlined in Part C of the

CSA. See 21 U.S.C. §§ 821-832.

        31.      Defendant violated 21 U.S.C. § 842(a)(1) when she dispensed controlled

substances by means of invalid prescriptions on 86 separate occasions. See also 21 C.F.R. §

1306.04. The CSA authorizes civil penalties for up $67,627 for each violation of 21 U.S.C. §

842(a)(1). See 21 U.S.C. § 842(c)(1)(A); 28 C.F.R. § 85.5.

                                        CLAIM #2
                            Violation of 21 U.S.C. § 842(a)(2)
   Dispensing controlled substances not authorized by the registrant’s DEA registration

        32.      Plaintiff incorporates by reference the allegations set forth above in paragraphs 1-

31, as if set forth in full at this place.

        33.      Defendant was required to obtain a separate DEA registration before dispensing

controlled substances in Idaho as part of her nursing practice in Idaho. 21 U.S.C. § 822(e)(1).




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        34.      When Defendant dispensed controlled substances in Idaho by means of

prescriptions without first obtaining a separate DEA registration for her practice in Idaho, she

violated 21 U.S.C. § 822(e)(1) and 21 C.F.R. § 1301.12.

        35.      Because Defendant dispensed controlled substances in a manner not authorized by

her registration, Defendant violated 21 U.S.C. § 842(a)(2).

        36.      Failure to obtain an appropriate DEA registration is a strict liability offense.

        37.      The CSA authorizes civil penalties for up $67,627 for each violation of 21 U.S.C.

§ 842(a)(2). See 21 U.S.C. § 842(c)(1)(A); 28 C.F.R. § 85.5.

                                       CLAIM #3
                            Violation of 21 U.S.C. § 842(a)(2)
 Administering controlled substances at a location not authorized by the registrant’s DEA
                                       registration

        38.      Plaintiff incorporates by reference the allegations set forth above in paragraphs 1-

37, as if set forth in full at this place.

        39.      Defendant was required to obtain a separate DEA registration for each and every

location where she intended to administer controlled substances directly to patients as part of her

nursing practice in Idaho. 21 U.S.C. § 822(e)(1); 21 C.F.R. § 1301.12(a)-(b).

        40.      Defendant administered the controlled substance testosterone cypionate to Idaho

patients on at least six occasions between September 1, 2019 and December 6, 2019. Defendant

administered those controlled substance as a regular part of her practice at Vitality Wellness

Center in Meridian, Idaho.

        41.      When Defendant administered controlled substances to patients from Vitality

Wellness Center without being registered to administer at that location by the DEA and/or the

State of Idaho, she violated 21 U.S.C. § 822(e)(1) and 21 C.F.R. § 1301.12.




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        42.      Because Defendant dispensed controlled substances (by means of administering

those controlled substances) in a manner not authorized by her registration, Defendant violated

21 U.S.C. § 842(a)(2). Defendant violated 21 U.S.C. § 842(a)(2) in this manner on at least six

(6) occasions.

        43.      Failure to obtain an appropriate DEA registration is a strict liability offense.

        44.      The CSA authorizes civil penalties for up $67,627 for each violation of 21 U.S.C.

§ 842(a)(2). See 21 U.S.C. § 842(c)(1)(A); 28 C.F.R. § 85.5.

                                              CLAIM #4
                                   Violation of 21 U.S.C. § 842(a)(5)
                                      Recordkeeping Violations

        45.      Plaintiff incorporates by reference the allegations set forth above in paragraphs 1-

44, as if set forth in full at this place.

        46.      Defendant regularly engaged in the dispensing or administering of controlled

substances as part of her practice at Vitality Wellness Center in Meridian, Idaho. As part of that

practice, Defendant and/or Vitality Wellness Center charged patients for controlled substances

that were administered to them by Defendant.

        47.      As a DEA registrant regularly engaged in administering controlled substances, the

CSA required Defendant to maintain accurate and complete records and inventories of the

controlled substances she acquired. See 21 U.S.C. § 827(a); 21 C.F.R. § 1304.03. Among other

things, the CSA required Defendant to maintain an accurate and complete initial inventory of

controlled substances. Id.; see also 21 C.F.R. § 1304.11(a)-(b).

        48.      Defendant acquired the controlled substance testosterone cypionate from

Empower Pharmacy in September 2019. Defendant, however, failed to accurately and

completely prepare and maintain an initial inventory that accounted for the newly acquired




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testosterone in a manner consistent with the DEA’s inventory requirements. See, e.g., 21 C.F.R.

§ 1304.11(e)(1), (e)(6). Accordingly, Defendant violated 21 U.S.C. § 842(a)(5).

        49.      The CSA authorizes a penalty of up to $15,691 for each violation of 21 U.S.C. §

842(a)(5). See 21 U.S.C. § 842(c)(1)(B); 28 C.F.R. § 85.5.

                                         CLAIM #5
                             Violation of 21 U.S.C. 842(a)(1)
     Misleading prescriptions that failed to meet the minimum requirements of a valid
                                        prescription

        50.      Plaintiff incorporates by reference the allegations set forth above in paragraphs 1-

49, as if set forth in full at this place.

        51.      Between August 2019 and October 20, 2019, Defendant issued multiple

prescriptions to patients using a prescription pad created for use by a different practitioner at

Vitality Wellness Center. In using said prescription pad, Defendant issued misleading and

invalid prescriptions that lacked Defendant’s name and/or other information required by the CSA

and its governing regulations. See, e.g. 21 C.F.R. § 1306.05. The result was that Defendant

dispensed controlled substances through invalid prescriptions, and further, dispensed controlled

substances in a confusing and misleading matter that made it appear as though the prescriptions

issued by Defendant were being issued by a separate practitioner altogether.

        52.      Defendant violated 21 U.S.C. § 842(a)(1) when she dispensed controlled

substances by means of invalid prescriptions that lacked information required by law and were

otherwise confusing and misleading. See also 21 C.F.R. § 1306.04. The CSA authorizes civil

penalties for up $67,627 for each violation of 21 U.S.C. § 842(a)(1). See 21 U.S.C. §

842(c)(1)(A); 28 C.F.R. § 85.5.




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                                     PRAYER FOR RELIEF

       Based on the allegations and claims described above, Plaintiff United States seeks the

following:

       (a) A declaration that Defendant violated the CSA as alleged in the Complaint,

       (b) Judgment and civil penalties against Defendant for each violation of the CSA as

             authorized by 21 U.S.C. § 842(c), and outlined in the five claims above,

       (c) Interest at the legal rate from the date of entry of judgment, and

       (d) Any other relief as this Court deems just and proper.



                                              BART M. DAVIS
                                              UNITED STATES ATTORNEY
                                              By:


                                              /s/ Robert B. Firpo
                                              ROBERT B. FIRPO
                                              Assistant United States Attorney




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